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 4
     ATTORNEYS FOR DEFENDANT
 5   ALEKSANDR MASLOV
 6
 7
 8
                             IN THE UNITED STATES DISTRICT COURT
 9
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,               )        Case №: 2:12-CR-0322 GEB
12                                           )
                    Plaintiff,               )
13                                           )
              vs.                            )          STIPULATION AND PROPOSED
14   ,                                       )        ORDER TO CONTINUE THE STATUS
     Aleksandr Maslov, et. al                )        CONFERENCE FROM JUNE 30, 2017
15   .                                       )               TO AUGUST 25, 2017
                    Defendants.              )
16                                           )
17
18                                         STIPULATION

19           IT IS HEREBY STIPULATED AND AGREED between the parties and their
20   attorneys, Heiko Coppolla, Assistant United States Attorney, Kenny N. Giffard, attorney
21
     for Aleksandr Lastovski, Joseph A. Welch, attorney for Tatyana Shvets, Kelly Babineau,
22
23   attorney for Andrey Lungu, and Robert M. Wilson, attorney for Aleksandr Maslov, that

24   the status conference date of Friday, June 30, 2017, should be continued to Friday,
25
     August 25, 2017. The parties further stipulate as follows:
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27
28
                                                  1
            STIPULATION NAD PROPOSED ORDER TO CONTINUE STATUS CONFERECE
      Case 2:12-cr-00322-JAM Document 170 Filed 06/30/17 Page 2 of 4


 1             1. By previous order, the status of the competency proceedings as to defendant Aleksandr
 2   Maslov in case number 2:12-CR-083 and 2:14-CR- 0322 was set for status conference on June
 3
     30, 2017.
 4
               2. On May 16, 2017, Dr. Samantha Shelton, the evaluator from the Metropolitan
 5
     Detention Center in Los Angeles assigned to the defendant’s evaluation,
 6
 7             3. The report of Dr. Shelton has been received and has been provided to Dr. McDermott

 8   at UC Davis to review. Dr. McDermott has requested additional time to prepare a supplemental
 9   report.
10
               4. All defendants are currently out of custody
11
               5. Moreover, on May 19, 2017, this Court in case number 2:12-CR-083 GEB excluded
12
     time under the Speedy Trial Act within which trial must occur through June 30, 2017, pursuant
13
14   to 18 U.S.C.§§ 3161(h)(7)(A), B(iv) [Local Code T4] and 3161(h)(1)(A) [Local Code A]. The

15   parties hereby jointly request that this Court order further time excluded in this matter, 2:12-CR-
16   0322, between the date of this Order and the contemplated June 30, 2017 status conference
17
     pursuant to Local Codes T4 and A. First, the discovery in this case is voluminous, and defense
18
     counsel continues to prepare for an eventual trial, justifying continued exclusion under Local
19
     Code T4. Independently, competency proceedings are underway, as the evaluator is currently
20
21   compiling her evaluative report on that subject, justifying an exclusion under Local Code A. See

22   United States v. Miranda, 986 F.2d 1283, 1294–85 (9th Cir. 1993) (holding that § 4241(a) time

23   limits for competency evaluation do not limit excludable time for competency examinations
24
     under § 3161(h)(1)(A), and upholding exclusion of 106 days in which defendant’s mental
25
     competency evaluation report was under preparation); accord United States v. Daychild, 357
26
     F.3d 1082, 1094 (9th Cir. 2004).
27
28             6.   The parties further stipulate the continuance is necessary, as counsel are still
                                                        2
           STIPULATION NAD PROPOSED ORDER TO CONTINUE STATUS CONFERECE
      Case 2:12-cr-00322-JAM Document 170 Filed 06/30/17 Page 3 of 4


 1   reviewing discovery, meeting with the respective clients and investigating information as well as
 2   researching various possible resolutions.
 3
            7. Nothing in this stipulation and order shall preclude a finding that other provisions of
 4
     the Speedy Trial Act dictate that additional time periods are excludable from the period within
 5
     which a trial must commence.
 6
 7          IT IS SO STIPULATED that the time between June 30, 2017 and August 25, 2017
 8   should be excluded from the Speedy Trial calculation pursuant to 18 U.S.C.§§ 3161(h)(7)(A),
 9   B(iv) [Local Code T4] and 3161(h)(1)(A) [Local Code A] for defense preparation and the
10
     pending competency proceeding, based on the representations of the parties in their stipulation.
11
     The parties stipulate that the ends of justice served by granting this continuance outweigh the
12
     best interests of the public and the defendant in a speedy trial. 18 U.S.C. Section 3161(h)(7)(A).
13
14          June 29, 2017                          /s/ Kenny N. Giffard
                                                   KENNY N. GIFFARD
15                                                 Attorney for Alexsandr Lastovskiy
16
            June 29, 2017                           /s/ Joseph A. Welch
17                                                 JOSEPH A. WELCH
                                                   Attorney for Tatyana Shvets
18
19          June 29, 2017                          /s/ Kelly Babineau
                                                   KELLY BABINEAU
20                                                 Attorney for Andrey Lungu
21
            June 29, 2017                           /s/ Robert M. Wilson
22                                                 ROBERT M. WILSON
                                                   Attorney for Aleksandr Maslov
23
24          June 29, 2017                           /s/ Heiko Coppola
                                                   HEIKO COPPOLA
25                                                 Attorney for the United States
26
27
                                                 IT IS SO ORDERED.
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                                                      3
           STIPULATION NAD PROPOSED ORDER TO CONTINUE STATUS CONFERECE
      Case 2:12-cr-00322-JAM Document 170 Filed 06/30/17 Page 4 of 4


 1
 2          The status conference presently set for June 30, 2017 at 9:00 A.M., is hereby continued to
 3
     August 25, 2017 at 9:00 A.M., and time under the Speedy Trial Act will be excluded from June
 4
     30. 2017 through August 25, 2017 pursuant to 18 U.S.C.§§ 3161(h)(7)(A), B(iv) [Local Code
 5
     T4] and 3161(h)(1)(A) [Local Code A] for defense preparation and the pending competency
 6
 7   proceeding, based on the representations of the parties in their stipulation. The Court finds that

 8   the ends of justice served by granting this continuance outweigh the best interests of the public
 9   and the defendant in a speedy trial.
10
            Dated: June 29, 2017
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           STIPULATION NAD PROPOSED ORDER TO CONTINUE STATUS CONFERECE
